     Case 1:17-cv-12043-MLW Document 40 Filed 12/10/18 Page 1 of 3



                      UNITED STATES DISTRICT COURT	
                    FOR THE DISTRICT OF MASSACHUSETTS	

______________________________________	
                                          )	
EQUAL MEANS EQUAL,                        )	
JANE DOE,                                 )	
MARY DOE,                                 )	
SUSAN DOE,                                )	
THE NATIONAL COALITION AGAINST            )	
VIOLENT ATHLETES,                         )
and similarly situated others             )                 Case No.1:17cv12043-MLW
                                          )	
                              Plaintiffs, )                 	
v.                                        )                 	
                                          )                 AFFIDAVIT IN RESPONSE TO	
                                          )                 COURT’S ORDER TO 	
                                          )                 SHOW CAUSE	
                                          )                 	
                                          )                 	
UNITED STATES DEPARTMENT of               )	
EDUCATION,                                )                     	
and                                       )             	
BETSY DEVOS, in her official capacity as  )             	
Secretary of Education,                   )             	
                                          )	
                              Defendants. )	
______________________________________ )                            	

        I, Wendy J. Murphy, hereby state under penalty of perjury:

1.     This affidavit is submitted in response to the Court’s December 3, 2018 show
cause order.

2.      I represent the Plaintiffs in the above-entitled matter. I filed this case on behalf of
the Plaintiffs and the public interest. My work in this case is entirely pro bono.

3.      I mistakenly submitted an untimely motion for extension of time to file my
response to Defendants’ Motion to Dismiss. I did not intend to offend the Court but
acknowledge that I may have unintentionally done so. If an apology is appropriate in an
affidavit, it is sincerely rendered. Nothing I state below is intended to detract from this
basic point. I accept responsibility for my error and offer the following facts as an
explanation, not an excuse, for my mistake.

4.      I teach sexual violence law as an adjunct professor at New England Law|Boston,
where I also run the Women’s and Children’s Advocacy Project. To a lesser extent, I
practice law as a sole practitioner, assisted by law students in public interest cases when
     Case 1:17-cv-12043-MLW Document 40 Filed 12/10/18 Page 2 of 3



they are available. I never have administrative support. The majority of my legal work for
the past twenty-five years has been pro bono public interest litigation; most often on
behalf of the constitutional and civil rights of abused women and children.

5.       I filed an untimely motion to extend the due date of my opposition memorandum
in this case because I incorrectly calculated the date on which my brief was due.

6.       Defendants’ Motion to Dismiss was filed November 8, but a notice from the court
regarding the docketing of Defendants’ memorandum in support thereof appeared on
November 9. This would make the due date of my response November 26. After looking
again at the November 9 entry, I saw that the Court’s notation indicated Defendant’s
Memorandum was deemed filed on November 8, making my response due November 23,
the day after Thanksgiving. The November 9th docket entry by the Court was apparently a
refilling of Defendants’ memorandum as a separate document, because it had been filed
incorrectly as an attachment to their Motion to Dismiss on November 8. I did not
understand the significance of this docket entry at the time.

7.      During this time period, in addition to managing my other professional
obligations, I was very busy with my family for the Thanksgiving holiday, starting
Wednesday November 21, through and including the weekend that followed. I have five
children, three of whom live with me; one is in high school. I am the primary caregiver.
Several of my children have chronic illnesses; one of my sons is disabled. While highly
functional, he does not drive. I had to take him to a medical appointment for a post-
surgical visit. My other son, who also lives with me, has special needs, and had eye
surgery November 2 to repair a serious form of keratoconus. The procedure required
several post-op and other appointments between November 9 and Thanksgiving Day.
Because of my son’s limitations, I have to drive him to medical appointments and
interface with his doctors.

8.      The Wednesday before Thanksgiving, I was busy getting ready for the holiday,
shopping for food and making other preparations. I spent Thursday and Friday with all
five of my children, which is rare, and visiting my elderly father.

9.     I did not have the benefit of student help during the preparation of my opposition
memorandum. Students are particularly helpful with tasks such as preparing the Table of
Authorities, which is very time consuming.

11.     I did not intend to disrespect the Court or its rules. I accept responsibility for my
actions and offer the foregoing not as an excuse but rather, as an explanation for my
mistake. I should have filed an extension motion several days before my memorandum
was due, but I expected to have it filed by November 26. When I realized I needed an
additional day, I asked defense counsel to assent but he declined. I anticipated that
defense counsel would assent to my request for an extension because of the Thanksgiving
holiday, and because I have assented to his requests. I will not be untimely again.
     Case 1:17-cv-12043-MLW Document 40 Filed 12/10/18 Page 3 of 3



13.     I respectfully request leave to refile this affidavit under seal, or redacted, to
protect my children’s medical privacy.



                                        Respectfully submitted


                                        /s/ Wendy J. Murphy
                                        Wendy J. Murphy


Date: December 10, 2018
